

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-68,771-01






FERNANDO VILLARREAL, Relator


v.


REEVES DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. 05-12-07056-CR IN THE 143rd JUDICIAL DISTRICT COURT

FROM REEVES COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original jurisdiction
of this Court.  In it, he contends that he filed an application for a writ of habeas corpus in the 143rd Judicial
District Court of Reeves County, that more than 35 days have elapsed, and that the application has not yet
been forwarded to this Court.  

	 In these circumstances, additional facts are needed.  The respondent, the District Clerk of  Reeves
County, is ordered to file a response, which may be made by: submitting the record on such habeas corpus
application; submitting a copy of a timely filed order which designates issues to be investigated, see McCree
v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); by stating that the nature of the claims asserted
in the application filed by Relator is such that the claims are not cognizable under Tex. Code Crim. Proc.
art. 11.07, § 3; or stating that Relator has not filed an application for habeas corpus in Reeves County. 
This application for leave to file a writ of mandamus shall be held in abeyance until the respondent has
submitted the appropriate response.  Such response shall be submitted within 30 days of the date of this
order.



Filed:  November 21, 2007

Do not publish	


